                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:20-CV-00191-BO

CA THERINE FORBES,                             )
                                               )
                       Plaintiff,              )
                                               )
                       V.                      )       ORDER FOR PAYMENT
                                               )       OF ATTORNEY FEES AND
                                               )       COSTS UNDER THE
KILOLO KIJAKAZI, 1                             )       EQUAL ACCESS TO JUSTICE ACT
Acting Commissioner of Social Security,        )
                                               )
                       Defendant.              )
-   -    -------- )

        Upon stipulation and agreement of the parties, it is ORDERED that Defendant pay to

Plaintiff $557.58 in attorney' s fees, in full satisfaction of any and all claims arising under the

Equal Access to Justice Act, 28 U.S.C . § 2412. In addition, Plaintiff shall be compensated for

the filing fee of $400.00 from the Treasury Judgment Fund. If the award to Plaintiff is not

subject to the Treasury Offset Program, payment will be made by check payable to Plaintiff's

counsel, Charles McB . Sasser, The Sasser Law Firm, P.A. I 011 East Morehead Street, Suite 350,

Charlotte, NC 28204, in accordance with Plaintiff's assignment to her attorney of her right to

payment of attorney ' s fees under the Equal Access to Justice Act.

SO ORDERED tlus      4---           day of ~ e r, 2021.

                                                   ~d-~
                                               TENCEW.BOYLE
                                               UNITED STATES DISTRICT JUDGE


1
  As of July 9, 2021 , Kilolo Kijakazi became the Acting Commissioner of Social Security
and is automatically substituted as a party pursuant to Fed. R. Civ. P. 25(d). See also section
205 (g) of the ' Social Security Act, 42 USC 405(g)(action survives regardless of any change
in the person occupying the office of Commissioner of Social Security).




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